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                              MEMO ENDORSED
          LAW OFFICE OF KENNETH J. MONTGOMERY
                            P.L.L.C.
                    198 ROGERS AVENUE
                BROOKLYN, NEW YORK 11225
              PH (718) 403-9261 FAX (347) 402-7103
                  ken@kjmontgomerylaw.com
                                                                       USDC SDNY
    J​ANUARY​ 11, 2021                                                 DOCUMENT
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    BY ECF                                                             DOC #:
    The Honorable Valerie E. Caproni (VEC)                             DATE FILED: 1/11/2021
    United States District Court
    Southern District of New York
    500 Pearl Street
    New York, New York 10007

                  Re: United States v. Quashawn Escalera​, ​12 Cr. 667​ (VEC)

    Dear Judge Caproni:

                    This a request from Mr. Escalera to modify his current bail conditions, which
    currently allows him to work in the jurisdictions of EDNY and SDNY and Connecticut where he
    resides. Mr. Escalera is gainfully employed as an electrician and his employment sometimes
    requires him to travel to New Jersey. Mr. Escalera humbly requests the Court to include New
    Jersey as a place of travel only for the purposes of employment so that he can fully perform his
    employment responsibilities. Mr. Escalera will continue to abide by all the other conditions
    mandated by the Court.

                  Thank you for the Court’s time and consideration in this matter.

                                                               Respectfully,
                                                               Kenneth J. Montgomery
                                                               s/
Application GRANTED.                                           Kenneth J. Montgomery

SO ORDERED.




HON. VALERIE CAPRONI
UNITED STATES DISTRICT JUDGE

                                 1/11/2021
